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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

                                CASE NO. 6:21-cv-01085-CEM-EJK

MICHELIN D. MCKEE, as Personal
Representative of the Estate of
SALAYTHIS MELVIN, the
Deceased,

           Plaintiff,
vs.

DEPUTY JAMES MONTIEL, in his
individual capacity and as an agent of
Orange County Sheriff’s Office;
DEPUTY MARCUS BULLOCK, in
his individual capacity and as an
agent of Orange County Sheriff’s
Office; DEPUTY ERIC R. WHEELER,
in his individual capacity and as an agent
of Orange County Sheriff’s Office;
DEPUTY JOHN DOE I, in his individual
capacity and as an agent of Orange
County Sheriff’s Office; DEPUTY
JOHN DOE II, in his individual capacity
and as an agent of Orange County
Sheriff’s Office; JOHN W. MINA, in his
official capacity as Orange County
Sheriff

           Defendants.
                           /
         DEFENDANT JOHN W. MINA’S AMENDED 1 CERTIFICATE OF
           INTERESTED PERSONS AND CORPORATE DISCLOSURE
                             STATEMENT


1
    Amended solely to reflect firm change for Defendant’s counsel
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I hereby disclose the following pursuant to this Court’s Order on Interested
Persons and Corporate Disclosure:
      1.     The name of each person, attorney, association of persons, firm, law

firm partnership, and corporation that has or may have an interest in the outcome

of this action, including subsidiaries, conglomerates, affiliates, parent corporations,

publicly-traded companies that own 10% or more of a party’s stock, and all other

identifiable legal entities related to any party in the case:

             A.     Michelin D. McKee (Plaintiff/Personal Representative of the
                    Estate of Salaythis Melvin)

             B.     Bradley N. Laurent (Counsel for Plaintiff)

             C.     Carlus Haynes (Counsel for Plaintiff)

             D.     James Montiel (Defendant and Deputy with Orange County
                    Sheriff’s Office)

             E.     Bruce Bogan (Counsel for Defendant Deputy James
                    Montiel)

             F.     Marcus Bullock (Defendant and Deputy with Orange
                    County Sheriff’s Office)

             G.     Eric Wheeler (Defendant and Deputy with Orange County
                    Sheriff’s Office)

             H.     John W. Mina, in his official capacity as Sheriff of Orange
                    County, Florida (Employer of Defendants Bullock, Montiel
                    and Wheeler)

             I.     Austin Moore (Assistant General Counsel for Defendants
                    Bullock, Wheeler and the Orange County Sheriff’s Office)



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             J.      Walter A. Ketcham, Jr. (Counsel for Defendants Bullock,
                     Wheeler and Mina)

             K.      Brian F. Moes (Counsel for Defendants Bullock, Wheeler
                     and Mina)

             L.      G. Ryan Dietrich (Counsel for Defendants Bullock, Wheeler
                     and Mina)

             M.      Florida Sheriff’s Risk Management Fund (Defendants’
                     Liability carrier)

       2.    The name of every other entity whose publicly-traded stock, equity or

debt may be substantially affected by the outcome of the pleadings:

             None.

       3.    The name of every other entity which is likely to be an active

participant in the proceedings, including the debtor and members of the creditors’

committee (or if no creditors’ committee the 20 largest unsecured creditors):

             None.

       4.    The name of each victim (individual and corporate), including every

person who may be entitled to restitution:

             None, other than the Plaintiff and the Estate of Decedent,
             Salaythis Melvin, named above.

       5.    Check one of the following:

__X__         a.    I certify that I am unaware of any actual or potential conflict of
interest involving the District Judge and Magistrate Judge assigned to this case and
will immediately notify the Court in writing upon learning of any such conflict.

-or-
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_____        b.    I certify that I am aware of a conflict or basis of recusal of the
District Judge or Magistrate Judge as follows:

             N/A.

Dated: January 12, 2022.

                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 12, 2022, I sent a copy of the

foregoing by electronic mail to the following:      Bradley N. Laurent, Esquire/

Carlus L. Hayes, Esquire, Law Office of Haynes and Laurent, P.A., 8615

Commodity Circle, Unit 6, Orlando, FL 32819 (bnl@fighting4ulaw.com,

champ@fighting4ulaw.com and paralegal@fighting4ulaw.com) and Bruce R.

Bogan, Esquire, Hilyard, Bogan & Palmer, PO Box 4973, Orlando, FL 32802-

4973     (bbogan@hilyardlawfirm.com;          mweiser@hilyardlawfirm.com         and

dwood@hilyardlawfirm.com).

                                       /s/ Brian F. Moes
                                       Brian F. Moes, Esquire
                                       Florida Bar No. 39403
                                       Walter A. Ketcham, Jr., Esquire
                                       Florida Bar No. 156630
                                       G. Ryan Dietrich, Esquire
                                       Florida Bar No. 1007940
                                       Counsel for Defendant Mina
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